                                                                                                               Case 4:07-cv-05944-JST Document 1841 Filed 08/12/13 Page 1 of 4



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                                                                                                          Counsel for Plaintiffs Tech Data Corporation
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                                                                                                     13   and Tech Data Product Management, Inc.

                                                                                                     14                               UNITED STATES DISTRICT COURT
                                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                     15                                 (SAN FRANCISCO DIVISION)
                                                                                                     16
                                                                                                           In re: CATHODE RAY TUBE (CRT)                 Master File No. 07-5944 SC (N.D. Cal.)
                                                                                                     17    ANTITRUST LITIGATION
                                                                                                                                                         MDL No. 1917
                                                                                                     18    __________________________________
                                                                                                           This Document Relates to Individual Case      TECH DATA CORPORATION AND TECH
                                                                                                     19    No. 13-CV-00157-SC                            DATA PRODUCT MANAGEMENT, INC.’S
                                                                                                     20                                                  NOTICE OF UNAVAILABILITY FOR
                                                                                                           TECH DATA CORPORATION; TECH
                                                                                                                                                         STATUS CONFERENCE
                                                                                                     21    DATA PRODUCT MANAGEMENT,
                                                                                                           INC.,
                                                                                                     22
                                                                                                                           Plaintiffs,
                                                                                                     23            vs.
                                                                                                     24    HITACHI, LTD; et al.
                                                                                                     25
                                                                                                                           Defendants.
                                                                                                     26

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                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY                             MASTER FILE NO. 07-5944 SC (N.D. CAL.)
                                                                                                          FOR STATUS CONFERENCE                                             INDIVIDUAL CASE NO. 13-CV-00157 SC
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                                                                                                      1            Plaintiffs Tech Data Corporation and Tech Data Product Management, Inc. (“Tech
                                                                                                      2   Data”) file this Notice of Unavailability in connection with the Status Conference scheduled for
                                                                                                      3   September 13, 2013 and state as follows:
                                                                                                      4            On July 2, 2013, the Court entered an Order Setting Status Conference (“Order”) [D.E.
                                                                                                      5   1758] requiring “the principal parties and lawyers to attend a hearing on the progress of the case
                                                                                                      6   and prospects for its efficient resolution.” Order at 1. The Order sets the status conference for
                                                                                                      7   September 13, 2013 at 10:00 AM Pacific time and states that “[a]ttendance is mandatory.” Id. at
                                                                                                      8   1-2.
                                                                                                      9            The Court further ordered that “if a party believes it has a valid excuse for not being
                                                                                                     10   present and represented at the hearing, it should file a notice explaining the reasons for its
                                                                                                     11
Bilzin Sumberg Baena Price & Axelrod LLP




                                                                                                          absence, no later than one week before the hearing date.” Id. at 2.
                                           1450 Brickell Avenue, Suite 2300




                                                                                                     12            The Jewish holiday of Yom Kippur begins at sundown on September 13, 2013.                  All
                                                                              Miami, FL 33131-3456




                                                                                                     13   members of Tech Data’s legal team at the law firm of Bilzin Sumberg Baena Price & Axelrod
                                                                                                     14   LLP (“Bilzin”) observe the Yom Kippur holiday. Bilzin and Tech Data, therefore, will not be
                                                                                                     15   able to attend the status conference in person given the travel time needed to return from San
                                                                                                     16   Francisco, California to Miami, Florida on September 13.
                                                                                                     17            Tech Data and Bilzin are available to attend the status conference telephonically and
                                                                                                     18   request that the Court grant Bilzin and Tech Data permission to do so. Tech Data and Bilzin will
                                                                                                     19   coordinate and pay the costs associated with their telephonic appearance. If Tech Data and
                                                                                                     20   Bilzin are not permitted leave to appear telephonically at the Status Conference, Bilzin
                                                                                                     21   authorizes liaison counsel from Boies Schiller & Flexner LLP to speak on Tech Data’s and
                                                                                                     22   Bilzin’s behalf at the status conference.
                                                                                                     23            For the aforementioned reasons, Tech Data respectfully requests that the Court excuse
                                                                                                     24   Tech Data and Bilzin from the September 13, 2013 hearing, or alternatively, grant Tech Data and
                                                                                                     25   Bilzin leave to appear telephonically. A proposed order for the Court’s consideration is attached
                                                                                                     26   hereto as Exhibit A.
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                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY             -1-                  MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                                                                      1   Dated: August 12, 2013
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                                                                                                                                                 Respectfully Submitted,
                                                                                                      3
                                                                                                                                                   /s/Scott N. Wagner
                                                                                                      4                                          ROBERT W. TURKEN
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                                                                                                                                                 Counsel for Plaintiffs Tech
                                                                                                     27                                          Data Corporation and Tech Data Product
                                                                                                     28                                          Management, Inc.

                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY      -2-                MASTER FILE NO. 07-5944 SC (N.D. CAL.)
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                                                                                                               Case 4:07-cv-05944-JST Document 1841 Filed 08/12/13 Page 4 of 4



                                                                                                      1                                    CERTIFICATE OF SERVICE
                                                                                                      2          The undersigned counsel hereby certifies that a true and correct copy of the foregoing
                                                                                                      3   document was electronically served upon the parties and counsel of record through the Court’s
                                                                                                      4   ECF system on August 12, 2013.
                                                                                                      5

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                                                                                                                                                            /s/Scott N. Wagner
                                                                                                      7                                                     Scott N. Wagner
                                                                                                                                                            Attorney for Plaintiffs
                                                                                                      8                                                     Tech Data Corporation and
                                                                                                                                                            Tech Data Product Management, Inc.
                                                                                                      9

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                                                                                                          TECH DATA'S NOTICE OF UNAVAILABILITY                           MASTER FILE NO. 07-5944 SC (N.D. CAL.)
                                                                                                          FOR STATUS CONFERENCE                                           INDIVIDUAL CASE NO. 13-CV-00157 SC
